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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
STATE OF NEW YORK                                              :
by and through ERIC T. SCHNEIDERMAN,                           :   Case No.: 14-CV-7473-RWS
         Attorney General                                      :
                                                               :   STIPULATION OF
                  Plaintiff,                                   :   DISMISSAL WITH
                                                               :   PREJUDICE
v.                                                             :
ACTAVIS, PLC, and                                              :
FOREST LABORATORIES, INC.,                                     :
                  Defendants.                                  :
---------------------------------------------------------------x




        Plaintiff State of New York (“NYAG”) and Defendants Actavis plc and Forest

Laboratories, LLC (collectively “Actavis”), through their respective counsel pursuant to

Federal Rule of Civil Procedure 41(a)(l)(A)(ii), stipulate and agree as follows:

        1.       This action, and all the claims asserted herein, are dismissed in their

entirety, WITH PREJUDICE; and

        2.       Each party shall bear its own costs, expenses and attorneys’ fees incurred in

this action except as provided in the parties’ Settlement Agreement, a true and correct copy

of which is attached as Exhibit A.




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ERIC T. SCHNEIDERMAN

       /s/ Jeremy Kasha

Eric J. Stock, Antitrust Bureau Chief
Elinor Hoffmann, Antitrust Deputy Bureau Chief
Jeremy Kasha, Assistant Attorney General
New York State Attorney General’s Office
120 Broadway
New York, New York 10271-0332

Counsel for Plaintiff State of New York

Dated: November 30, 2015

ACTAVIS PLC AND FOREST LABORATORIES LLC



       /s/ J. Mark Gidley (with permission)

J. Mark Gidley
Peter J. Carney
White & Case LLP
701 13th Street NW
Washington, DC 20005

Jack E. Pace III
Martin M. Toto
White & Case LLP
1155 Avenue of the Americas
New York, NY 10036

Counsel for Defendants Actavis plc and Forest Laboratories LLC

Dated: November 30, 2015




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